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GOVERNMENT OF
THE VIRGIN ISLANDS OF THE UNITED STATES

—_@—_——__

OFFICE OF THE SUPERVISOR OF ELECTIONS

PO. Box 1499 » Kingshill ¢ St. Croix * U.S. Virgin Islands 00851-1499
(340} 773-1021 Office * (340) 773-4523 (Fax}

P.O Box 6038 » St Thomas * U.S Virgin Islands 00801-6038
(340) 774-3107 Office * (340) 776.2391 (Fax)

May 25, 2018

Mr. Positive T. A. Nelson
9018 Salt River
St. Croix, VI 00820

Sent via email to committeeforpositivechange@pmail

Re: Disqualification Notice Response Letter

Dear Mr. Nelson,

I'm in receipt of your Disqualification Notice response letter dated May 22, 2018, based on VIC
18, Chapter 17, Section 411 (c}, as the Supervisor, | have no further authority.

Your only recourse is through the Board of Elections or the legal system as per Section 412.

t will forward your letter to the Board of Elections Members expeditiously for their review and
decision.

For any additional information, please don’t hesitate to contact me at 773-1021.

Sincerely yours,

Caroline F. Fawkes
Supervisor

EXHIBIT

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Committee for Positive Change
9018 Salt River
Christiansted, St. Croix, V.I.

May 22, 2018

RE: Correspondence to Supervisor of Elections Caroline F. Fawkes

Print Signature

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Date Time

s/ez)a08 G.I

12:6 KY 2 AUH

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TO: Caroline Fawkes
Office of the Supervisor

Election District of St. Croix

FROM: Mr. Positive T. A. Nelson
9018 Salt River
St. Croix, VI 00820
DATE: May 22, 2018

Dear Mrs. Fawkes:

1 write this correspondence in response to a notice of disqualification given to me on Monday, May
21, 2018, at approximately 4:00 p.m.

| first learned there might be an issue via the public airways when board member Adelbert Bryan
mentioned, on multiple radio stations, that { will be disqualified due to my running mate not being a
qualified elector. As mentioned during our meeting on the matter, | can understand your itemized
concerns regarding my running mate Mr. Gary Udhwani. He did go to the election office after 11:00
a.m. on May 8, 2018, with the intention to reregister and pick up nomination petitions, which |
instructed him to get. He was told by the person issuing the petitions that he did not need to
register again and left with the petitions to get signatures. Prior to May 8, 2018, I, personally, with
the help of two ladies, circulated the St. Thomas-St. John petition papers. Mr. Udhwani gathered
approximately forty (40) signatures. When | was apprised by committee workers that | could not
sign the affidavit of circulator as a resident of St. Croix, {| then instructed Mr. Udhwani to sign,
notarize, and send them over immediately, which he did.

We ask to be given an opportunity to correct any defects or deficiencies on our nomination petitions
as allowed in Title 18 Chapter 17 subsection 411(C). Your consideration is appreciated and just.
We anxiously await your response. Thank you.

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Sincerely,

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° wotlens leAe

Positive T. A. Nelson

Gubernatorial Candidate

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mM Gmail Positive Change <committeeforpositivechange@gmail.com>

Response Ltr

Caroline Fawkes <Caroline.Fawkes@vi.gov> Fri, May 25, 2018 at 8:48 AM
To: Positive Change <committeeforpositivechange@gmail.com>

Good Morning Mr. Nelson,

Attach is my response to your letter. {ll forward your letter along with my Disqualification Notice
and my response to all Board Members today.
Please confirm receipt. Enjoy the day.

Caroline F. Fawkes, CERA
Supervisor of Elections
caroline.fawkes@vi.gov

Office: 340-773-1021/340-774-3107
Fax: 340-773-4523/340-776-239 1

"Always do right. This will gratify some and astonish the rest." Mark Twain

Please consider the environment before printing this email.

Disclaimer: This email and any of the attachments contain information belonging to the Elections System of the
Virgin Islands which maybe confidential. This information is intended solely for the individual or entity to which it
is addressed. {f you are not the intended recipient, you are notified that disclosing, copying, distributing or other
use of this Information is strictly prohibited. if you receive this email in error, please notify the sender
immediately at 340-773-1021 or via email caroline.fawkes@vi.gov.

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